                 Case 18-30765               Doc 19          Filed 09/25/18 Entered 09/25/18 12:52:12                                Desc Main
                                                               Document     Page 1 of 2
  Fill in this information to identify your case:

 Debtor 1           Kathleen Guevin
                   __________________________________________________________________
                     First Name               Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name               Last Name


 United States Bankruptcy Court for the: District of Massachusetts
                                         __________     District of __________

 Case number
  (If known)
                     ___________________________________________                                                                             Check if this is an
                                                                                                                                                amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                              04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     ✔ You are claiming state and federal nonbankruptcy exemptions.
                                                                                   11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on        Current value of the        Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                portion you own
                                                            Copy the value from         Check only one box for each exemption.
                                                            Schedule A/B

      Brief                                                                                                                      G.L. 188 s. 1
                                                                                                                                 ____________________________
      description:
                             57 Bonair Ave
                             _________________________       202,300.00
                                                            $________________             $ ____________
                                                                                             125,000.00                          ____________________________
      Line from                                                                           100% of fair market value, up to      ____________________________
                    1.1
      Schedule A/B: ______                                                                  any applicable statutory limit      ____________________________


      Brief                                                                                                                      G.L. 235 s. 34(16)
                                                                                                                                 ____________________________
      description:
                             2005 Dodge Stratus
                             _________________________       2,197.00
                                                            $________________             $ ____________                        ____________________________
      Line from                                                                          
                                                                                         ✔ 100% of fair market value, up to      ____________________________
                    ______
                    3.1                                                                     any applicable statutory limit       ____________________________
      Schedule A/B:

      Brief                                                                                                                      G.L. 235 s. 34(1) & (2)
                                                                                                                                 ____________________________
      description:
                             Household Goods
                             _________________________       1,000.00
                                                            $________________             $ ____________                        ____________________________
      Line from                                                                          
                                                                                         ✔ 100% of fair market value, up to      ____________________________
      Schedule A/B: ______                                                                  any applicable statutory limit       ____________________________
                    3.3

 3. Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



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Debtor 1      Kathleen Guevin                                 Document
             _______________________________________________________       Page 2 ofCase
                                                                                     2 number (if known)_____________________________________
             First Name        Middle Name      Last Name




 Part 2:    Additional Page

      Brief description of the property and line        Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      on Schedule A/B that lists this property          portion you own
                                                        Copy the value from    Check only one box for each exemption
                                                        Schedule A/B

     Brief                                                                                                             G.L. 235 s.34 (17)
                                                                                                                       ____________________________
     description:
                          Electronics
                          _________________________               320.00
                                                        $________________       $ ____________                        ____________________________
     Line from     3.7
                   ______
                                                                               
                                                                               ✔ 100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             G.L. 235 s. 34 (1)
                                                                                                                       ____________________________
     description:         Clothes
                          _________________________                50.00
                                                        $________________       $ ____________                        ____________________________
     Line from                                                                 
                                                                               ✔ 100% of fair market value, up to      ____________________________
     Schedule A/B:
                   3.11
                   ______                                                         any applicable statutory limit       ____________________________


     Brief                                                                                                             G.L. 235 s. 34 (17)
                                                                                                                       ____________________________
                          Jewelry
                          _________________________                50.00
                                                        $________________       $ ____________
     description:                                                                                                      ____________________________
     Line from                                                                 
                                                                               ✔ 100% of fair market value, up to      ____________________________
                   3.12
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             G.L. 235 s. 34 (17)
                                                                                                                       ____________________________
                          Animals
                          _________________________                 0.00
                                                        $________________       $ ____________
     description:                                                                                                      ____________________________
     Line from     3.13
                   ______
                                                                               
                                                                               ✔ 100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             G.L. 235 s. 34 (17)
                                                                                                                       ____________________________
                          Cash
                          _________________________                40.00
                                                        $________________       $ ____________
     description:                                                                                                      ____________________________
     Line from                                                                 
                                                                               ✔ 100% of fair market value, up to      ____________________________
     Schedule A/B:
                   3.16
                   ______                                                         any applicable statutory limit       ____________________________


     Brief                                                                                                             G.L. 235 s. 34 (17)
                                                                                                                       ____________________________
                          Bank Accounts
                          _________________________               300.00
                                                        $________________       $ ____________
     description:                                                                                                      ____________________________
     Line from                                                                 
                                                                               ✔ 100% of fair market value, up to      ____________________________
                   3.17
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                                                                                                                       ____________________________
     Schedule A/B: ______                                                         any applicable statutory limit


     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                                                                                                                       ____________________________
     Schedule A/B: ______                                                         any applicable statutory limit


     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:


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